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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


Kevin Khottavongsa,                                 Court File No. __________________
As Trustee for the Heirs
and Next of Kin of
Sinthanouxay Khottavongsa,

                          Plaintiff,
                                                    COMPLAINT
            v.

City of Brooklyn Center, Police Officers            JURY TRIAL DEMANDED
Alan Salvosa, Cody Turner, and Gregg
Nordby, acting in their individual
capacities as City of Brooklyn Center
police officers,

                          Defendants.


                                       INTRODUCTION

       1.        Plaintiff brings this civil action against Defendants the City of Brooklyn

Center, and Police Officers Alan Salvosa, Cody Turner, and Gregg Nordby, acting in

their individual capacities as City of Brooklyn Center police officers, for depriving

Sinthanouxay Khottavongsa of his rights under the Fourth Amendment and Fourteenth

Amendment of the U.S. Constitution, 42 U.S.C. § 1983, and the wrongful death statute of

the State of Minnesota, Minn. Stat. §573.02.

       2.        The individual Defendants, acting within the scope of their employment

and under color of state law, not only used excessive force but also failed to provide

proper aftercare, resulting in Sinthanouxay Khottavongsa’s injury and death. This action

is also brought against the City of Brooklyn Center for its failure to properly train and
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supervise the individual Defendants in the proper use of force and techniques to secure

the arrest of individuals, failure to properly train and supervise the Defendants in the

proper provision of reasonable care to victims injured from the use of a Taser and any

resulting injuries, and for its establishment of policies, procedures, and customs that

allow for such conduct to occur.

                                         PARTIES

        3.    Plaintiff, Kevin Khottavongsa, is the Trustee appointed to represent the

Heirs of Sinthanouxay Khottavongsa, the decedent, and is a resident of St. Paul and the

State of Minnesota. Mr. Sinthanouxay Khottavongsa was a resident of the State of

Minnesota.

        4.    The following Police Officers are, on information and belief, citizens of the

United States and residents of the State of Minnesota:

              a.     Defendant Police Officer Alan Douglas Salvosa;

              b.     Defendant Police Officer Cody Maurice Turner; and

              c.     Defendant Police Officer Gregg Alfred Nordby; (hereinafter

                     “Officer Defendants”).

        5.    Defendant City of Brooklyn Center is a properly organized municipality

located in Hennepin County, Minnesota.

                             JURISDICTION AND VENUE

        6.    This action arises under 42 U.S.C. § 1983 and the Fourth and Fourteenth

Amendments to the United States Constitution.



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        7.    The Court has subject matter jurisdiction over these federal claims under 28

U.S.C. §§ 1331 and 1343(a).

        8.    The Court has personal jurisdiction over Minnesota residents Officer

Defendants Salvosa, Turner, Nordby, and the City of Brooklyn Center.

        9.    Venue is proper in this Court under 28 U.S.C. § 1391(b) because all of the

events that gave rise to these claims took place within the judicial district of the District

of Minnesota.

                               FACTUAL ALLEGATIONS

        10.   Mr. Sinthanouxay Khottavongsa (“Khottavongsa”) was a 57-year-old man.

Originally from Laos, Khottavongsa spoke and understood very limited English.

        11.   On the night of January 16, 2015, Khottavongsa was at Coin Laundry in

Brooklyn Center with his friend, Leang Sarin, the son of Taing Hong and Kear Som, the

owners of Coin Laundry.

        12.   Shortly before 9:00 p.m., a woman and two men (hereinafter “Assailants”)

came into Coin Laundry and asked to use the restroom. Mrs. Hong advised them to leave

as the restroom was closed. The Assailants began yelling at Mrs. Hong and Mr. Som.

Mrs. Hong told her son, Sarin, to ask them to leave.

        13.   One of the male Assailants threatened to kill everyone in the laundromat.

        14.   The two male Assailants began fighting with Sarin, and grabbed Sarin by

the collar and dragged him outside. Som and Khottavongsa went outside and attempted

to get the two men off Sarin, who was on the ground. One of the two male Assailants

involved in the physical altercation with Sarin was significantly larger than Sarin,

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Khottavongsa, and Som. Som went back into the laundromat and came back out with a

baseball bat and began to fight with the larger man in an attempt to get him off his son,

Sarin.

         15.   Again, one of the male Assailants threatened to kill everyone.

         16.   At some point during the assault, Khottavongsa also went back into the

laundromat and came back out with a crowbar to try and stop the men from assaulting

Sarin and Som. Khottavongsa never struck anyone with the crowbar.

         17.   While the Assailants were attacking Sarin, Som, and Khottavongsa,

witnesses and employees of nearby businesses alerted the police.

         18.   At approximately 9:16 p.m., Officer Salvosa arrived on the scene with

Cadet Jose Nochez. He parked his vehicle on the side of the street in a position that

prevented the video recording capabilities of his squad car from capturing the incident.

         19.   However, shortly after Officer Salvosa and Cadet Nochez arrived at the

scene, Officers Nordby, Turner, and other officers also arrived. All of these officers

arrived from the same direction as Officer Salvosa, and all parked their squad cars in

positions which allowed the cameras on their respective squad cars to capture the scene.

         20.   A voice captured on the audio recording from Officer Salvosa’s dash

camera states that Officer Salvosa ran to where the fight was happening. Moments later,

Officer Salvosa fired his Taser at Khottavongsa.

         21.   Officer Turner’s dash camera recorded the moment Officer Salvosa fired

his Taser at Khottavongsa.



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        22.   Officer Turner’s video clearly shows a subdued scene. All participants in

the original assault stood calmly. Khottavongsa was not acting in a threatening manner

and no one was attempting to move away from him.

        23.   Khottavongsa’s conduct was not dangerous to Defendants nor anyone else

in the direct vicinity. He was merely defending friends from their attackers.

Khottavongsa was not committing a crime, did not present an imminent threat to the

safety of the officers or others, and was not actively resisting arrest

        24.   Officer Salvosa fired his Taser within moments of arriving at the scene. He

did nothing to assess the scene or attempt to determine the parties’ identities or their roles

in the earlier assault before firing his Taser. Later, upon learning that Khottavongsa was

simply trying to stop the fight, Officer Salvosa expressed that he felt bad Tasering

Khottavongsa.

        25.   Khottavongsa was holding the crowbar close to his chest in a non-

threatening manner and his body was sideways to Officer Salvosa as Officer Salvosa

fired his Taser into Khottavongsa.

        26.   Hit by the Taser, Khottavongsa’s body went rigid and fell straight

backwards onto the sidewalk. The audio recording captured the terrible sound of

Khottavongsa’s head hitting the concrete.

        27.   The severity of Khottavongsa’s fall was obvious to all who witnessed it.

Sarin immediately rushed to Khottavongsa’s aid, only to be ordered onto the ground by

the officers. Several witnesses commented on how hard Khottavongsa’s head hit the

ground. Sarin stated it sounded like a melon being smashed. Noting that Khottavongsa’s

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head hit the sidewalk with great force, Sarin requested that Officer Salvosa render aid.

Officer Salvosa disregarded this request.

        28.   The Officer Defendants immediately knew that Khottavongsa hit his head

very hard, had sustained serious injuries, and was in a perilous medical condition. Dash

cameras later recorded the Officer Defendants discussing the force with which

Khottavongsa hit his head. Nevertheless, the Officer Defendants ignored Khottavongsa’s

serious medical condition.

        29.   The dash camera video recording shows Khottavongsa in severe pain,

groaning loudly, and unable to control his movements after being Tasered. Khottavongsa

not only suffered severe pain from the electrical shocks of the Taser, he suffered a skull

fracture and other associated injuries from the fall caused by the Taser.

        30.   Even though Khottavongsa clearly was disabled by the initial Tasering,

Officer Salvosa again pointed the Taser at Khottavongsa, who was lying on the ground

face up, and threatened that Khottavongsa will “get it again” if he did not drop the

crowbar, which Khottavongsa continued to harmlessly hold against his chest in part due

to the reaction of his body to the electricity delivered by the Taser. At that point, Officer

Salvosa had been joined by the other Officer Defendants with guns drawn. All Officers

were yelling at Khottavongsa. By this time, the Officer Defendants knew Khottavongsa

did not speak English. Recognizing Khottavongsa was no threat, Officer Turner told the

other Officers he was going to take the crow bar away from Khottavongsa. Officer

Turner then walked up to Khottavongsa and easily removed the crowbar from

Khottavongsa’s grasp. Khottavongsa did not resist in any manner.

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        31.   Officer Turner later stated that “I figured he didn’t speak any English so

that’s why I grabbed the crowbar” and “he didn’t speak English…he didn’t have a

fucking clue what we were saying.” Officer Turner, in a mocking tone, said “No Ingles”

multiple times in reference to Khottavongsa’s lack of English.

        32.   Traumatized and disoriented from the initial Tasering and resultant head

injury, Khottavongsa attempted to sit up very slowly. No reasonable person would have

thought Khottavongsa was a threat to cause harm to anyone insofar as he no longer had

the crowbar and was barely conscious. He was struggling to sit up when Officer Salvosa

yelled at him to not get up or he would “get it again.” Before Khottavongsa had a chance

to comprehend or comply, Officer Salvosa fired his Taser into Khottavongsa a second

time.

        33.   Khottavongsa again fell to the concrete hard, groaning in pain.

        34.   At the time of the second Tasering, Khottavongsa was not an immediate

threat to the safety of law enforcement officers surrounding him or to others. He was in

serious medical distress from the first Tasering and fall. He was unreasonably and

unnecessarily Tasered and suffered further injury that exacerbated his perilous medical

condition and caused pain and suffering.

        35.   Officers ordered Khottavongsa to roll over onto his stomach. At this point,

after being Tasered twice by Officer Salvosa, Khottavongsa was even more disoriented

and obviously unable to process information. One officer commented that Khottavongsa

may have limited English. Officer Salvosa then kicked Khottavongsa’s body in an

attempt to roll him over to his stomach.

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        36.   Officer Nordby approached, also kicking Khottavongsa’s body in an

attempt to roll him over. Officer Nordby then attempted to flip him. Uncomprehending,

Khottavongsa attempted to sit up.

        37.   While Officer Nordby tried to flip Khottavongsa, Officer Turner grabbed

Khottavongsa’s left arm and used his other hand to forcefully push Khottavongsa’s head

into the ground. Khottavongsa groaned in pain. Officers Turner and Nordby then

handcuffed Khottavongsa’s hands behind his back and performed a body search.

        38.   Khottavongsa was in severe pain and unable to control his movement. He

continued to groan and mumble incoherently. His helpless condition was apparent to

Officers Salvosa, Nordby, and Turner while they kicked and flipped his body.

        39.   Officers Nordby and Turner then ordered Khottavongsa to stand. When he

could not, they lifted him and dragged Khottavongsa’s limp body to a squad car.

        40.   Officers Nordby and Turner threw Khottavongsa down on the backseat of

the squad car. Unable to sit up on his own, Khottavongsa immediately fell forward,

causing his body to become wedged between the backseat and front divider. He was in

obvious pain and his breathing was labored.

        41.   Officer Defendants left Khottavongsa wedged between the backseat and

divider for several minutes.

        42.   As Khottavongsa endured obvious pain and suffering in the backseat of the

police car, Defendants laughed, joked, and dealt with administrative matters.

        43.   Observing that Khottavongsa remained wedged between the backseat and

divider and was immobile, Officer Norby and Turner told Khottavongsa to “hop out…or

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we will drag you, it doesn’t matter to me.” Even though they knew Khottavongsa was

injured and did not speak English, Officers Nordby and Turner dragged Khottavongsa

from the back of the squad car and threw him onto the ground. Khottavongsa continued

to groan from pain while being manhandled.

        44.   Officer Defendants left Khottavongsa lying on the ground, saying to each

other that Khottavongsa was “fine where he was at” (on the ground).

        45.   Despite Khottavongsa’s obviously tenuous medical condition, Officer

Defendants mocked him and displayed deliberate disregard for his medical needs. Their

comments included: “He’s doing this on purpose. He’s just playing games. He’s lucky

he didn’t get fucking shot[;]” “He’s playing. He is just being dramatic[;]”“He’s in pout

mode now where he’s pretending like he’s dying[;]” and “He’s being a drama queen.”

        46.   The Officer Defendants later admit in statements among themselves that,

“you see the guy get hit with the Taser. He got a pretty good punishment already.” This

demonstrates the use of the Taser was not necessary to control or apprehend

Khottavongsa and instead, that the Officers use of force and subsequent deliberate

indifference to his medical needs was not a necessity, but was motivated by a desire to

punish Khottavongsa.

        47.   After dragging Khottavongsa out of the squad car and onto the ground,

Officer Defendants finally called for an ambulance. Officer Turner continued to tell jokes

while waiting for the paramedics.

        48.   If Khottavongsa had received proper medical care sooner, he would have

survived.

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        49.   One of the officers informed the EMT that Khottavongsa “bonked his head

on the concrete pretty good…and fell backwards,” and that they “had to drag him

everywhere…he pissed his pants, he’s got two probes in him, and he hit his head on the

concrete,” displaying their actual knowledge of his serious medical condition.

        50.   Officer Turner or Nordby then helped hoist Khottavongsa from the ground

onto the gurney. No precautions, such as a neck brace, were taken for Khottavongsa’s

condition.

        51.   Officer Turner placed Khottavongsa in restraints in the back of the

ambulance despite the fact he was not a threat to the safety of officers, EMTs or others.

        52.   The ambulance did not leave the scene for 15 minutes.

        53.   Khottavongsa was eventually transported to North Memorial Hospital

where he was declared brain dead. The Hennepin County Medical Examiner’s January

22, 2015, press release identified blunt force head injury as the cause of death and

classified the manner of death as homicide.

                                 CAUSES OF ACTION

                     COUNT I - 42 U.S.C. § 1983
     EXCESSIVE FORCE AND DELIBERATE INDIFFERENCE TO SINTH
    KHOTTAVONGSA’S SERIOUS MEDICAL NEEDS IN VIOLATION OF
   THE FOURTH AND FOURTEENTH AMENDMENTS AND 42 U.S.C. § 1983

        54.   Plaintiff incorporates all prior paragraphs of this Complaint.

        55.   By the actions described above, Officer Defendants, under color of state

law, deprived Khottavongsa of his clearly established and well-settled civil rights to be




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free from unreasonable searches and seizures and free from the use of excessive,

unreasonable and deadly force in violation of the Fourth Amendment.

        56.   By the actions described above, Officer Defendants, under color of state

law, also deprived Khottavongsa of his clearly established and well-settled civil right to

be free from deliberate indifference to his serious medical needs in violation of the

Fourteenth Amendment.

        57.   Defendant Officer Salvosa’s first use of the Taser was excessive in light of

the facts and circumstances confronting Officer Salvosa, and eventually resulted in

Khottavongsa’s death.

        58.   Defendant Officer Salvosa’s second use of the Taser was excessive in light

of the facts and circumstances confronting Officer Salvosa, and eventually resulted in

Khottavongsa’s death.

        59.   Officer Defendants displayed deliberate indifference to Khottavongsa’s

serious medical needs. Officer Defendants were aware that Khottavongsa hit his head

with great force on a concrete sidewalk after the initial Tasering. But instead of providing

the attention and care that he needed, Officer Defendants were deliberately indifferent to

his serious medical needs.

        60.   Defendant Officers Salvosa and Nordby kicking Khottavongsa – who was

visibly injured, disoriented, and helpless – to get him to roll over was unreasonable,

excessive, and offensive.




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        61.   Defendant Officer Turner forcibly thrusting Khottavongsa’s head into the

ground was unreasonable, excessive, and offensive and only served to exacerbate his

head injury and pain.

        62.   Defendant Officers Nordby and Turner throwing Khottavongsa into the

back of the car and later dragging him out and throwing him down on the ground was

unreasonable, excessive, and offensive, and only served to exacerbate his head injury.

        63.   Khottavongsa suffered injury and death as a direct and proximate result of

Officer Defendants’ conduct and omissions, and Officer Defendants are therefore liable

in an amount to be determined at trial.

        64.   Plaintiff is entitled to recover Khottavongsa’s compensatory damages,

including medical and burial expenses, pain and suffering before death, loss of earnings,

and hedonic damages, such as loss of enjoyment of life.

        65.   Plaintiff’s next of kin have suffered pecuniary loss, including medical and

funeral expenses, loss of aid, counsel, guidance, advice, assistance, protection, and

support.

        66.   At all relevant times Officer Defendants were in uniforms and acting under

color of the laws, statutes, ordinances, regulations, policies, customs, and usages of the

State of Minnesota.

        67.   Plaintiff as the trustee appointed to represent the Heirs of Khottavongsa for

claims in this complaint requests that the Court award compensatory and punitive

damages against Defendants.



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         68.   Officer Defendants subjected Khottavongsa to these deprivations of his

rights in such a manner so as to render Officer Defendants liable for punitive damages.

         69.   Punitive damages are available against the Officer Defendants and hereby

claimed as a matter of federal common law under Smith v. Wade, 461 U.S. 30 (1983),

and as such, are not subject to the pleading requirements or the differing standard of

proof set forth in Minn. Stat. § 549.20.

                         COUNT II - 42 U.S.C. § 1983
        FAILURE TO IMPLEMENT APPROPRIATE POLICIES, CUSTOMS, AND
            PRACTICES AGAINST THE CITY OF BROOKLYN CENTER

         70.   Plaintiff incorporates all prior paragraphs.

         71.   The Officer Defendants claim to have acted in accordance with the policies,

procedures, customs, and training of the City of Brooklyn Center which exhibited:

               a.    failure to properly train the proper use of force in response to verbal

                     noncompliance and/or passive resistance;

               b.    failure to discipline police officers for the liberal, unnecessary use of

                     Tasers;

               c.    failure to train proper handling of already Tasered suspects;

               d.    failure to emphasize the risks of Tasering a person multiple times

                     when there is suspected injury;

               e.    allowing officers to use unreasonable and/or excessive force when it

                     is unconstitutional to do so as stated above; and




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               f.     allowing officers to deliberately disregard serious medical needs in

                      handling individuals who have been injured as a result of the

                      aforementioned unreasonable and/or excessive force.

        72.    The aforementioned inappropriate policies, procedures, customs, and

training were the moving force behind the violations of Khottavongsa’s constitutional

rights and a proximate cause of the Khottavongsa’s death, mental anguish and physical

suffering.

        73.    Plaintiff as the trustee appointed to represent the Heirs of Khottavongsa for

claims in this complaint requests that the Court award compensatory and punitive

damages against Defendants.

                               COUNT III – Minn. Stat. §573.02
                                 WRONGFUL DEATH

        74.    Plaintiff incorporates all prior paragraphs.

        75.    Defendant Officer Salvosa committed a battery upon Khottavongsa by

Tasering him the first time.

        76.    Defendant Officer Salvosa committed a battery upon Khottavongsa by

Tasering him the second time when he was lying down on the ground, after having

already suffered a severe head injury from the first Tasering.

        77.    Defendant Officers Salvosa and Nordby committed a battery upon

Khottavongsa by intentionally and willfully kicking Khottavongsa to get him to roll over

when Khottavongsa was already incapacitated from the two Taser shots and the fatal

head injury.


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        78.   Defendant Officer Turner committed a battery upon Khottavongsa by

intentionally and/or willfully forcibly thrusting Khottavongsa’s injured head towards the

ground.

        79.   Defendants Officers Turner and Nordby committed a battery upon

Khottavongsa by intentionally and willfully throwing Khottavongsa in the squad car and

by later dragging him out onto the ground.

        80.   At all times since the fatal head injury, Officer Defendants exhibited

deliberate indifference to Khottavongsa’s medical needs, which resulted in his death.

        81.   Throughout the entire incident, Khottavongsa was not an imminent threat to

anyone, nor was he actively resisting or fleeing arrest.

        82.   The above-mentioned instances of contact were all unpermitted and

offensive contact against Khottavongsa and were unnecessary to effectuate an arrest.

These contacts were unreasonable, excessive, and without legal justification under the

circumstances and violated Khottavongsa’s statutory and constitutional rights.

        83.   Officer Defendants were also negligent in failing to attend to

Khottavongsa’s serious medical needs. Officer Defendants owed him a general duty of

care and a special duty of care arising from Officer Defendants putting Khottavongsa in a

perilous condition. Officer Defendants breached that duty of care by continuing to batter

Khottavongsa and ignore his serious medical needs.

        84.   Officer Defendants’ actions were a proximate and actual cause of

Khottavongsa’s injury and death.



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        85.    At the time the above incident occurred, the Officer Defendants were acting

within the scope of their employment for and at the direction of the Brooklyn Center

Police Department.

        86.    Plaintiff as the trustee appointed to represent the Heirs of Khottavongsa for

claims in this Complaint requests that the Court award compensatory damages against

Defendants.

        87.    Plaintiff is entitled to recover Khottavongsa’s compensatory damages,

including medical and burial expenses, pain and suffering before death and loss of

earnings.

        88.    Plaintiff’s next of kin have suffered pecuniary loss, including medical and

funeral expenses, loss of aid, counsel, guidance, advice, assistance, protection and

support.

        89.    The notice requirements of Minn. Stat. § 466.05 have been satisfied, as

Defendants have been on actual notice of sufficient facts to reasonably put Defendants on

notice of a possible claim since the Khottavongsa’s death, and were presented a demand

prior to filing suit.

                                  PRAYER FOR RELIEF

        Plaintiff respectfully requests that the Court:

        A.     Award compensatory damages, including for mental anguish and physical

suffering, in an amount to be determined according to proof by Plaintiff against all

Defendants;



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        B.     Award punitive damages under 28 U.S.C. § 1983 as to Counts I and II, in

such other amount as the jury may determine is sufficient to punish Defendants and deter

others from committing the constitutional violations alleged in this Complaint;

        C.     Permanently enjoin all Defendants from engaging in conduct and practices

in violation of individuals’ constitutional liberties, such as the conduct stated in this

Complaint as well as that which may be proven at trial;

        D.     Award Plaintiff his costs, expenses, and reasonable attorney’s fees, costs

and pre-judgment interest pursuant to 42 U.S.C. § 1988 and other applicable laws; and

        E.     Grant such other and further relief as the Court may deem just and proper.

                                       JURY DEMAND

        Plaintiff demands a trial by jury in this case as to all claims in this action.


Dated: April 20, 2016                               s/Daniel E. Gustafson
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